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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

  NOTICE OF DEFENDANT’S OBJECTION TO JURY INSTRUCTION NUMBER 27

       Following closing arguments, the Court gave the jury an additional instruction. Without

having a copy of the instruction or a real time transcript, we cannot quote directly from the

instruction. However, a specific part of the instruction to which the defense objects relates to the

Court’s comment concerning a discussion of the rules during Mr. Corcoran’s closing argument

and the objection to it. The instruction certainly implied, if not outrightly asserted, that the

argument was improper and should be disregarded. Respectfully, the Defendant does not believe

the instruction was appropriate and believes that it unfairly targeted the Defendant’s closing

argument and risks unfairly prejudicing the jury.

       The argument at issue concerned a reference to a factual issue concerning the provision

of a copy of section Rule 3(b) pursuant to ¶11 of the 117th Congress’s Regulations for Use of

Deposition Authority. First, this was one narrow area which the Court had suggested in a pre-

trial ruling might well be an area the defense can pursue and argue – the attending factual dispute

- [July 11, 2022 Tr. at 132]. Secondly, there was testimony at trial directly concerning this

factual dispute, with Ms. Amerling testifying that Mr. Bannon “… was not provided a copy of

that paragraph that day.” [July 20, 2022 Tr. at 712]. And of course, Defense Exhibit 9-B, used
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in the course of that part of the examination of Ms. Amerling, was admitted into evidence. [July

20, 2022 Tr. at 712-713].

        The argument on this issue at close was proper argument, justified by the trial record and

the Court’s previous ruling. Instruction 27, to the extent it focused on the Rules references in the

closing argument and directed the jury to ignore the argument or suggested defense counsel did

something wrong by going into that area, was unfairly prejudicial in violation of the Defendant’s

constitutional fair trial rights, including his right of confrontation, right to effective assistance of

counsel, and right to a jury trial and the rights associated with the granting of the motion to

quash, including the right to compulsory process, argued on July 21, 2022. Counsel for Mr.

Bannon was precluded during closing by the Court’s ruling during closing argument from

addressing the jury about a key piece of evidence that went to the credibility of the

Government’s key witness, Ms. Amerling.

Dated: July 22, 2022                            Respectfully submitted,

                                                SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                   /s/ M. Evan Corcoran
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of July, 2022, a copy of the foregoing Objection

to Instruction 27 was served via the Court’s CM/ECF system on all properly registered parties and

counsel.


                                               /s/ M. Evan Corcoran
                                            M. Evan Corcoran (D.C. Bar No. 440027)




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